Case 1:22-cr-00239-RBW Document 24 Filed 02/13/23 Page1of1

 

   

 

UNITED STATES DISTRICT COURT FILED
FOR THE DISTRICT OF COLUMBIA mat
a FEB 13 2023
a1 OH ens 7 ) Clerk. U.S. District & Bankruptcy
UNITED STATES OF AMERICA ) Courts for the District of Columbia
)
Vv. )
) Criminal Action No. 22-239 (RBW)
PAUL KOVACIK, )
)
Defendant. )
x )
ORDER

Upon consideration of the government’s Consent Motion for Excludable Delay, ECF No.
23, and for good cause shown, it is hereby

ORDERED that the government’s Consent Motion for Excludable Delay, ECF No. 23, is
GRANTED. It is further

ORDERED that, with the defendant’s consent. the time from February 3, 2023, until the
guilty plea hearing scheduled for March 13, 2023, is excluded under the Speedy Trial Act, in
light of the technical difficulties experienced by the defendant at the guilty plea hearing
originally scheduled for February 3, 2023, and in order to allow the defendant and defense
counsel to identify a suitable location for the defendant to appear remotely for the his guilty plea
hearing rescheduled for March 13, 2023.

SO ORDERED this 13th day of February, 2023.

REGGIE B. WALTON
United States District Judge
